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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                         )
In re                                                    )    Chapter 11
                                                         )
HERCULES OFFSHORE, INC., et al.,                         )    Case No. 15-11685 (KJC)
                                                         )
                                   Debtors.1             )    Jointly Administered
                                                         )
                                                         )    Hearing Date: Sept. 24, 2015 at 10:00 a.m. (ET)
                                                         )    Obj. Due: Sept. 17, 2015 at 4:00 p.m. (ET)

          MOTION TO APPROVE FDT LLC SETTLEMENT AGREEMENTS
        PURSUANT TO FEDERAL RULE OF BANKRUPTCY PROCEDURE 9019
          AND SECTIONS 105(A) AND 363(B) OF THE BANKRUPTCY CODE

        Hercules Offshore, Inc. (“HERO” or the “Company”) and its debtor affiliates, as debtors

and debtors-in-possession in the above-captioned chapter 11 cases (with HERO, collectively, the

“Debtors”), file this motion (the “Motion”), pursuant to Rule 9019 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”) and sections 105(a) and 363(b) of title 11 of the

United States Code (the “Bankruptcy Code”), for an order approving the following settlement

agreements entered into by FDT LLC, which is a Debtor in these cases and was formerly known

as Delta Towing LLC (“Delta”) substantially in the forms provided: (i) Confidential Settlement

and Release Agreement executed on August 5, 2015 (the “Global Settlement Agreement”);

(ii) the Agreement between Stephen M. Valdes (“Valdes”) and Delta executed on July 29, 2015

and the First Amendment to Agreement executed on August 6, 2015 (collectively, the “Valdes

Agreements”); and (iii) the Confidential Settlement and Release Agreement By and Between


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          The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: Cliffs Drilling Company (8934); Cliffs Drilling Trinidad L.L.C. (5205); FDT LLC
(7581); FDT Holdings LLC (4277); Hercules Drilling Company, LLC (2771); Hercules Liftboat Company, LLC
(0791); Hercules Offshore, Inc. (2838); Hercules Offshore Services LLC (1670); Hercules Offshore Liftboat
Company LLC (5303); HERO Holdings, Inc. (5475); SD Drilling LLC (8190); THE Offshore Drilling Company
(4465); THE Onshore Drilling Company (1072); TODCO Americas Inc. (0289); and TODCO International Inc.
(6326). The address of the Debtors’ corporate headquarters is Hercules Offshore, Inc., 9 Greenway Plaza, Ste 2200,
Houston, TX 77046.
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Delta and the Williams Group dated August 5, 2015 (the “Williams Agreement” and together

with the Global Settlement Agreement and the Valdes Agreements, the “Settlement

Agreements”).2 The Global Settlement Agreement, the Valdes Agreements (filed in globo,) and

the Williams Agreement are being filed under seal as Exhibits B, C and D, respectively.

         In support of the Motion, the Debtors respectfully represent as follows:

                                         JURISDICTION AND VENUE

         1.          The United States Bankruptcy Court for the District of Delaware (the “Court”)

has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended

Standing Order of Reference from the United States District Court for the District of Delaware,

dated February 29, 2012 (the “Amended Standing Order”). This matter is a core proceeding

within the meaning of 28 U.S.C. § 157(b)(2), and the Debtors confirm their consent pursuant to

Rule 9013-l(f) of the Local Rules of Bankruptcy Practice and Procedure of the United States

Bankruptcy Court for the District of Delaware (the “Local Rules”) to the entry of a final order by

the Court in connection with this Motion to the extent that it is later determined that the Court,

absent consent of the parties, cannot enter final orders or judgments in connection herewith

consistent with Article III of the United States Constitution.

         2.          Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

         3.          The statutory bases for the relief requested herein are sections 105(a) and 363(b)

of the Bankruptcy Code and Bankruptcy Rule 9019.

                                        BANKRUPTCY BACKGROUND

         4.          On August 13, 2015 (the “Petition Date”), the Debtors filed voluntary petitions

for relief in this Court under chapter 11 of the Bankruptcy Code.


2
 Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the Settlement
Agreements.


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         5.          On August 14, 2015, the Court entered an order [Docket No. 41] authorizing the

joint administration and procedural consolidation of these chapter 11 cases pursuant to

Bankruptcy Rule 1015(b). No request for the appointment of a trustee or examiner has been

made in these chapter 11 cases. No official committees have been appointed or designated.

         6.          On the Petition Date, the Debtors filed the Debtors’ Joint Prepackaged Plan of

Reorganization Pursuant to Chapter 11 of the Bankruptcy Code (the “Plan”) and the related

Solicitation and Disclosure Statement, dated July 13, 2015 (the “Disclosure Statement”).

                      BACKGROUND OF LITIGATION AND SETTLEMENT AGREEMENTS

         7.          The Settlement Agreements were entered into by and among Delta, the Coats

Rose Group, the Williams Group, the International Group, the Platinum/Ferry Group, National

Union and Valdes (collectively, the “Parties”) to settle and resolve any and all claims, rights,

demands, causes of action, defenses and exceptions arising out of or related to the following

matters:

        International Marine, et al v. FDT, LLC, United States District Court for the Eastern
         District of Louisiana (“EDLA”), CA#10-0044-EEF-JCW, and related appeals to the
         United States Court of Appeals for the Fifth Circuit (the “U.S. Fifth Circuit”), Case Nos.
         14-31192, 15-30051 and 15-30321 (collectively, “EDLA Lawsuit”)

        FDT LLC v. Stephen J. Williams, et al, 24th Judicial District Court of Louisiana (“24th
         JDC”), Case No. 738-330, Division “K,” and related appeals (“24th JDC Lawsuit”)

        International Offshore Services v. Coats, Rose, et al, 19th Judicial District Court of
         Louisiana (“19th JDC”), Suit No. 628157, Section 23, and related appeals (“19th JDC
         Lawsuit”)

The EDLA Lawsuit, 24th JDC Lawsuit and 19th JDC Lawsuit, and any and all claims, rights,

demands, causes of action, defenses, exceptions and appeals related thereto, are hereinafter

collectively referred to as “Lawsuits.”




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A. Vessel Sale and IOS Sale

         8.          Delta and International Marine, L.L.C. (“IM”) entered into Vessel Sales

Agreement dated September 8, 2006 (“VSA”) for the sale of the DELTA TEAM and DELTA

SKIPPER (collectively, “Vessels”). The VSA also included a non-competition agreement and

agreement for the payment of liquidated damages for certain breaches. International Offshore

Services, L.L.C. (“IOS”) guaranteed IM’s payment and performance obligations under the VSA

by executing the Parent Company Guaranty dated September 8, 2006 (“Parent Guaranty”). The

Lawsuits arise primarily from Delta’s claims that IM violated the non-competition provisions of

the VSA by chartering out the Vessels in the Gulf of Mexico thirty-three (33) times from

September, 2006 to July, 2007.

         9.          IOS and its subsidiaries including IM (collectively, “International”) were acquired

by Ferry Holding Corporation (“FHC”) on January 8, 2009 from its former members, Stephen J.

Williams (“Williams”), Kelly B. Steele (“Steele”), Valdes and WMW, LLC (collectively,

“Former Members”), pursuant to a Purchase Agreement dated January 8, 2009 (“Purchase

Agreement”), whereby FHC purchased an 80% ownership interest in IOS (“IOS Sale”). After

the IOS Sale, Williams retained a minority ownership in IOS and operated as the Chief

Executive Officer of both IOS and IM until approximately January 2011.                   The Purchase

Agreement and contemporaneously executed Assignment and Assumption Agreement

collectively allocated all pre-Closing liabilities to the Former Members and imposed certain

defense and indemnity obligations on the Former Members, who also assumed the pre-Closing

liabilities of International.




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B. EDLA Lawsuit and 5th Circuit Appeal

         10.         The EDLA Lawsuit was instituted on January 27, 2010, in which matter, inter

alia, Delta sought liquidated and other damages from IM and IOS relating to their alleged

breaches of the VSA. Valdes (who was not a party to the International/Williams Settlement

Agreement) was added to the EDLA Lawsuit in a Third Party Demand by IOS and IM, which

included a FRCP 14(c) tender of Valdes to Delta.

         11.         After a trial on the number of breaches and damages, on June 30, 2014, the EDLA

issued Findings of Fact and Conclusions of Law (“FFCL”) in the EDLA Lawsuit, awarding

Delta $8.25 million in liquidated damages for International Marine’s thirty-three (33) breaches of

the non-competition provisions of the VSA, plus pre-judgment interest, and finding that IOS was

liable under the Parent Guaranty. The EDLA issued a Final Judgment based upon the FFCL on

October 14, 2014 (“Final Judgment”), awarding pre-judgment interest from February 20, 2009 to

the date of judgment, October 14, 2014.

         12.         The judgment debtors, IM and IOS were (and are) insolvent and could not (and

cannot) satisfy the Final Judgment. IM and IOS nevertheless appealed the Final Judgment to the

U.S. Fifth Circuit (Case No. 14-31192), without posting security. This appeal, with credible

arguments and risks on both sides, was pending during the negotiation and execution of the

Settlement Agreements.

         13.         After ruling on the underlying breaches and damages, the EDLA granted

summary judgment against Valdes, finding that he owes 5% of the Final Judgment, plus judicial

interest, fees and costs, directly to Delta. The EDLA issued a final judgment on December 23,

2014. This final judgment was appealed to the U.S. Fifth Circuit and enforcement against

Valdes was suspended due to his posting of security. This appeal is still pending with the U.S.




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Fifth Circuit, but the appeal is stayed pending this Court’s approval of the Settlement

Agreements.

         14.         Additionally, on March 3, 2015, the EDLA awarded Delta attorney’s fees in the

amount of $716,883.60 and costs in the amount of $56,370.17 related solely to the EDLA

Lawsuit for the period of February 2009 through September 2014 (“Fees Award”). International

(without positing security) and Valdes appealed the Fees Award to the U.S. Fifth Circuit (Case

No. 15-30321). That appeal has been stayed pending this Court’s approval of the Settlement

Agreements.

         15.         On August 10, 2015, after the Settlement Agreements for which approval is being

sought herein were executed, the U.S. Fifth Circuit issued an opinion and judgment in Case No.

14-31192 affirming the EDLA Final Judgment in part, vacating it in part and remanding the

matter back to the EDLA for further consideration. The U.S. Fifth Circuit upheld the award of

$250,000 of liquidated damages for 28 of the 33 breaches, found that International was only

liable for the amounts not paid for the first 5 breaches (as opposed to liquidated damages), and

confirming generally the award of prejudgment interest.

         16.         Subject to further proceedings before the EDLA on remand, the total amount for

which International is liable for the breaches of the VSA (not counting fees and costs), as a result

of the U.S. Fifth Circuit ruling, is approximately $9.75 million. The total amount owed by

International in the EDLA Lawsuit, which is currently on remand to the district court but stayed

pending this Court’s approval of the Settlement Agreement, is approximately $10.3 million

(“Delta Damages”), with Valdes being liable for 5% of that amount.




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C. 19th JDC Lawsuit

         17.         While the EDLA Lawsuit was pending, in October 29, 2013, IOS sued Coats,

Rose, Yale, Ryman & Lee, P.C. and two of its partners for malpractice relating to the alleged

professional negligence and breach of fiduciary duties arising from alleged conflicts involving

representation of both Stephen J. Williams and International. IOS is attempting to recover

through these claims the Delta Damages and other damages from the Coats Rose Group. The

Coats Rose Group has a variety of defenses to the claims against them in the 19th JDC Lawsuit.

Delta has attached/seized IOS’s claims against Coats Rose and its two partners in the 19th JDC

Lawsuit. The 19th JDC Lawsuit has been stayed pending this Court’s approval of the Global

Settlement Agreement.

D. 24th JDC Lawsuit

         18.         Recognizing fact that IOS and IM cannot pay the Delta Damages in the EDLA

Lawsuit due to their insolvency, Delta filed the 24th JDC Lawsuit on May 9, 2014 against the

International Group, the Platinum Group, National Union, the Williams Group and Valdes to

recover the Delta Damages and other damages. The 24th JDC Lawsuit involves complicated and

involved claims that include assumption and third party beneficiary actions, fraudulent transfer

and breach of fiduciary duty claims, alter ego and single business enterprise claims, and oblique

actions. Valdes was dismissed from the 24th JDC Lawsuit since Delta already has a judgment

against Valdes in the EDLA Lawsuit. Moreover, through an exception of res judicata, Steele has

been dismissed from the 24th JDC Lawsuit and certain claims against Williams arising under his

assumption obligations have been dismissed.         Delta is appealing the judgment as to Steele and

is the process of appealing the judgment as to Williams. The appeal to the Louisiana Fifth

Circuit Court of Appeal is stayed pending this Court’s approval of the Settlement Agreements.




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E. Settlement Negotiations

         19.         A mediation among the Parties (except for Valdes) was held on July 27 and 28,

2015 and settlement negotiations continued after the mediation was concluded. As a result of

separate negotiations between Delta and Valdes, a settlement agreement was reached, with the

Valdes Agreements being executed on July 29, 2015 and August 6, 2015. As a result of the

mediation and continued negotiations between Delta and the Williams Group, a Confidential

Memorandum of Understanding was agreed on July 30, 2015 and the Williams Agreement was

executed on August 5, 2015.

         20.         As a result of the mediation and continued negotiations by and among all of the

Parties, the Global Settlement Agreement was concluded and executed on August 5, 2015. If

approved by this Court, the Global Settlement Agreement, along with the Valdes Agreements

and the Williams Agreement, resolve all claims, rights, demands, causes of action, defenses and

exceptions arising out of or related to the EDLA Lawsuit, the 24th JDC Lawsuit and the 19th

JDC Lawsuit.

         21.         Per these Settlement Agreements, the Debtors are guaranteed $5.22 million upon

the approval of this Motion, thereby avoiding expensive, complicated, risky and lengthy

litigation and potential further collection difficulty given the insolvency of IOS and IM. This

$5.22 million is being held in trust pending this Court’s approval of this Motion.

                                           RELIEF REQUESTED

         22.         By this Motion, the Debtors seek an order, pursuant to Bankruptcy Rule 9019 and

sections 105(a) and 363(b) of the Bankruptcy Code, approving the Settlement Agreements and

authorizing the Debtors to take any and all action necessary to implement the Settlement

Agreements.




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                                            BASIS FOR RELIEF

         23.         Settlements in bankruptcy are favored as a means of minimizing litigation, and

expediting the administration of the bankruptcy estate. Myers v. Martin (In re Martin), 91 F.3d

389, 393 (3d Cir. 1996) (citing COLLIER        ON   BANKRUPTCY ¶ 9019.03[1] (15th ed. 1993)); In re

TSIC, Inc., 393 B.R. 71, 78 (Bankr. D. Del. 2008).

         24.         Section 105(a) of the Bankruptcy Code provides in relevant part that the “court

may issue any order, process, or judgment that is necessary or appropriate to carry out the

provisions” of the Bankruptcy Code. 11 U.S.C. § 105(a). Section 363(b) of the Bankruptcy

Code provides, in relevant part, that a debtor in possession, “after notice and hearing, may use,

sell, or lease, other than in the ordinary course of business, property of the estate.” 11 U.S.C. §

363(b)(l). The standard for approval of the sale and use of property of the estate under section

363(b) of the Bankruptcy Code in this circuit is whether the debtor can demonstrate a sound

business justification for the proposed transaction. See Dai-ichi Kangyo Bank, Ltd. v.

Montgomery Ward Holding Corp. (In re Montgomery Ward Holding Com.), 242 B.R. 147, 153

(D. Del. 1999) (“In determining whether to authorize the use, sale or lease of property of the

estate under this section, courts require the debtor to show that a sound business purpose justifies

such actions.”) (citing to Committee of Equity Sec. Holders v. Lionel Com. (In re Lionel Com.),

722 F.2d 1063, 1071 (2d Cir. 1983).

         25.         Bankruptcy Rule 9019 governs the procedural prerequisites to approval of a

settlement, providing that:

                     On motion by the trustee and after notice and a hearing, the court
                     may approve a compromise or settlement. Notice shall be given to
                     creditors, the United States trustee, the debtor, and indenture
                     trustees as provided in Rule 2002 and to any other entity as the
                     court may direct.

FED. R. BANKR. P. 9019(a). Courts have interpreted this rule, as well as its predecessor,


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section 27 of the Bankruptcy Act, as granting the debtor in possession broad authority to settle

controversies.

         26.         Courts in the Third Circuit examine four factors in determining whether to

approve a proposed settlement: “(1) the probability of success in litigation; (2) the likely

difficulties in collection; (3) the complexity of the litigation involved, and the expense,

inconvenience and delay necessarily attending it; and (4) the paramount interest of the creditors.”

Martin, 91 F.3d at 393 (citing Protective Comm. For Indep. Stockholders of TMT Trailer Ferry,

Inc. v. Anderson, 390 U.S. 414, 424-25 (1968)); In re World Health Alternatives, Inc., 344 B.R.

291, 296 (Bankr. D. Del. 2006); TSIC, 393 B.R. at 78.

         27.         When applying these criteria to a particular motion, “the court is not supposed to

have a ‘mini-trial’ on the merits, but should canvass the issues to see whether the settlement falls

below the lowest point in the range of reasonableness.” Aetna Casualty & Surety Co. v. Jasmine,

Ltd (In re Jasmine, Ltd), 258 B.R. 119, 123 (D.N.J. 2000) (internal quotations omitted); see also

TSIC, 393 B.R. at 79; World Health, 344 B.R. at 296. Although approval of a compromise is

within the “sound discretion” of the bankruptcy court, see World Health, 344 B.R. at 296, the

court should not substitute its judgment for that of a trustee or debtor in possession. In re

Parkview Hosp.-Osteopathic Med. Ctr., 211 B.R. 603, 610 (Bankr. N.D. Ohio 1996). The

ultimate inquiry is whether the compromise is “fair, reasonable, and in the interests of the

estate.” TSIC, 393 B.R. at 78. A court need not be convinced that a proposed settlement is the

best possible settlement, but “must conclude that it is within the reasonable range of litigation

possibilities.” World Health, 344 B.R. at 296 (internal citations omitted).

         28.         Here, the Settlement Agreements are fair, reasonable, and in the best interests of

the Debtors’ estates. The Settlement Agreements are the product of extensive, active, good-faith




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discussions and arms’ length bargaining among Delta and the other Parties.               The global

settlement embodied in the Settlement Agreements resolves long-running litigation claims, as the

EDLA Lawsuit having been pending for nearly six years. Most significantly, the Settlement

Agreements provide Delta with a guaranteed recovery of $5.22 million, while outside the context

of a settlement there is significant risk and uncertainty regarding the ability to collect 95% of the

$10.3 million judgment the Debtors obtained in the EDLA Lawsuit.

         29.         The Settlement Agreements also satisfy the factors cited in Martin. Delta had

(and has) a good probability of success on the merits in the EDLA Lawsuit, as evidence by the

judgment it has obtained and the results of the U.S. Fifth Circuit appeal; however, Delta cannot

recover 95% of its damages as IOS and IM are insolvent. The probability of success in the other

Lawsuits, through which Delta would have to pursue the remaining portion of the damages, is

much more difficult to ascertain. The 24th JDC Lawsuit involves highly complex litigation, with

over thirty (30) total defendants represented by numerous different counsel. For the most part

the claims are very fact- and document-intensive and involve difficult to prove legal theories

such as alter ego and single business enterprise. The fraudulent transfer and breach of fiduciary

duty claims and related oblique actions are extremely complicated and involve various

prescription (statute of limitation) issues which have been asserted by the defendants relating to

transactions going back as far as 2009. Most of the defendants involved are very sophisticated

and have strong incentives to fight these claims aggressively with their ample resources.

Moreover, the more straight-forward claims in 24th JDC Lawsuit, the assumption claims against

Williams and Steele, have been dismissed at the district court level, although those dismissals are

being appealed. The 24th JDC Lawsuit would most likely continue to be an extremely expensive

and lengthy process, with the likelihood of numerous appeals.




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         30.         The 19th JDC Lawsuit against members of Coats, Rose, Yale, Ryman & Lee, P.C.

(which is funding the majority of the settlement proceeds) is being advanced by IOS, with Delta

having seized IOS’s interests in that matter. Again, IOS is insolvent and has indicated that it will

not continue to fund the litigation. A malpractice action is personal to the aggrieved party, which

creates further complexities with respect to Delta trying to enforce any rights it may have.

Furthermore, the Coats Rose Group has various arguably meritorious defenses on the merits.

         31.         The Debtors believe that the proposed settlement contemplated under the

Settlement Agreements constitutes a cost-effective method for resolving many outstanding

claims and avoiding the great expense and risk inherent in litigating these claims while resulting

in the immediate recovery of a significant portion of the amount of the judgment rendered in the

EDLA Lawsuit during the Debtors’ reorganization process.                  The Settlement Agreements

guarantee a $5.22 million recovery for the Debtors upon the approval of this Motion, thereby

avoiding the difficulty of prevailing on the pending claims against the Parties and potential

collection difficulties upon any ultimate successful conclusion of litigation, which could be years

away. This is especially important given the insolvency of the IOS and IM, as there is no direct

way to recover the amount of the judgment against them except through additional litigation

against the other Parties.

         32.         The Settlement Agreements resolve the disputes between Delta and a multitude of

different parties, which will bring an end to lengthy and costly proceedings in at least three

different courts (and appeals). All of the issues resolved under the Settlement Agreements would

take a substantial amount of time to fully litigate, with the potential for no ultimate benefit to the

Debtors. Any award in a litigation context could be significantly reduced by further attorneys’

fees and litigation expenses. The Settlement Agreements avoid the expense, inconvenience, and




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delay of proceeding further with each of the Lawsuits. Further, the Settlement Agreements, if

approved, will eliminate an on-going distraction while the Debtors’ management team navigates

the company through chapter 11.

         33.         Finally, the Settlement Agreements are in the best interest of creditors and the

estates. As noted above, the Settlement Agreements will provide the Debtors with $5.22 million

in settlement of the Lawsuits—a helpful cash infusion as the Debtors complete their

reorganization process and begin to focus on emergence from chapter 11. The Debtors believe

that the Settlement Agreements present a favorable result for the estates that is clearly in the best

interests of creditors.

         34.         For all the reasons set forth above, the Debtors submit that the Settlement

Agreements are fair, reasonable, and appropriate and should be approved by this Court.

                                                  NOTICE

         35.         The Debtors will provide notice of this Motion to: (a) the Office of the United

States Trustee for the District of Delaware; (b) the holders of the 35 largest unsecured claims

against the Debtors (on a consolidated basis); (c) Akin Gump Strauss Hauer & Feld LLP, as

counsel to the Steering Group, Attn: Arik Preis and Michael S. Stamer; (d) counsel for the

Parties to the Settlement Agreements; and (e) any party that has requested notice pursuant to

Bankruptcy Rule 2002. The Debtors submit that, in light of the nature of the relief requested, no

other or further notice need be given.

                                           NO PRIOR REQUEST

         36.         No prior request for the particular relief sought in this Motion has been made to

this or any other court in connection with these chapter 11 cases.




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                                           CONCLUSION

         WHEREFORE the Debtors respectfully request that the Court: (a) enter an order,

substantially in the form annexed as Exhibit A hereto, granting the relief requested herein; and

(b) grant such other and further relief as may be just.




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Dated:      September 3, 2015                MORRIS, NICHOLS, ARSHT & TUNNELL LLP
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